Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 1 of 213 PageID: 147
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 2 of 213 PageID: 148




                                                                    Exhibit 1
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 3 of 213 PageID: 149
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 4 of 213 PageID: 150
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 5 of 213 PageID: 151
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 6 of 213 PageID: 152
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 7 of 213 PageID: 153
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 8 of 213 PageID: 154




                                                                        Exhibit 2
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 9 of 213 PageID: 155
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 10 of 213 PageID: 156




                                                                   Exhibit 3
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 11 of 213 PageID: 157
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 12 of 213 PageID: 158




                                                                       Exhibit 4
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 13 of 213 PageID: 159
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 14 of 213 PageID: 160




                                                                        Exhibit 5
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 15 of 213 PageID: 161




                                                                      Exhibit 6
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 16 of 213 PageID: 162




                                                                      Exhibit 7
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 17 of 213 PageID: 163




                                                                      Exhibit 8
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 18 of 213 PageID: 164
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 19 of 213 PageID: 165
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 20 of 213 PageID: 166




                                                                       Exhibit 9
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 21 of 213 PageID: 167
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 22 of 213 PageID: 168




                                                                     Exhibit 10
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 23 of 213 PageID: 169
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 24 of 213 PageID: 170




                                                                      Exhibit 11
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 25 of 213 PageID: 171
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 26 of 213 PageID: 172




                                                                 Exhibit 12
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 27 of 213 PageID: 173
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 28 of 213 PageID: 174




                                                                     Exhibit 13
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 29 of 213 PageID: 175
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 30 of 213 PageID: 176




                                                                 Exhibit 14
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 31 of 213 PageID: 177




                                                                       Exhibit 15
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 32 of 213 PageID: 178




                                                                        Exhibit 16
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 33 of 213 PageID: 179
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 34 of 213 PageID: 180
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 35 of 213 PageID: 181
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 36 of 213 PageID: 182
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 37 of 213 PageID: 183
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 38 of 213 PageID: 184
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 39 of 213 PageID: 185
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 40 of 213 PageID: 186
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 41 of 213 PageID: 187
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 42 of 213 PageID: 188
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 43 of 213 PageID: 189
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 44 of 213 PageID: 190
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 45 of 213 PageID: 191
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 46 of 213 PageID: 192
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 47 of 213 PageID: 193
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 48 of 213 PageID: 194
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 49 of 213 PageID: 195
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 50 of 213 PageID: 196
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 51 of 213 PageID: 197
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 52 of 213 PageID: 198
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 53 of 213 PageID: 199
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 54 of 213 PageID: 200
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 55 of 213 PageID: 201
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 56 of 213 PageID: 202
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 57 of 213 PageID: 203
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 58 of 213 PageID: 204
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 59 of 213 PageID: 205




                                                                        Exhibit 17
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 60 of 213 PageID: 206
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 61 of 213 PageID: 207
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 62 of 213 PageID: 208




                                                                Exhibit 18
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 63 of 213 PageID: 209
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 64 of 213 PageID: 210
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 65 of 213 PageID: 211
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 66 of 213 PageID: 212
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 67 of 213 PageID: 213
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 68 of 213 PageID: 214
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 69 of 213 PageID: 215
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 70 of 213 PageID: 216




                                                                   Exhibit 19
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 71 of 213 PageID: 217




                                                                     Exhibit 20
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 72 of 213 PageID: 218




                                                                         Exhibit 21
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 73 of 213 PageID: 219
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 74 of 213 PageID: 220
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 75 of 213 PageID: 221
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 76 of 213 PageID: 222
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 77 of 213 PageID: 223
Case 3:18-cv-04569-FLW Document 10-1 Filed 03/15/19 Page 78 of 213 PageID: 224




                                                                   Exhibit 22
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 79
                                             Filed 12/06/17    of 213
                                                            Page   1 ofPageID:
                                                                       17      225




                                                                           Exhibit 23
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 80
                                             Filed 12/06/17    of 213
                                                            Page   2 ofPageID:
                                                                       17      226
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 81
                                             Filed 12/06/17    of 213
                                                            Page   3 ofPageID:
                                                                       17      227
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 82
                                             Filed 12/06/17    of 213
                                                            Page   4 ofPageID:
                                                                       17      228
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 83
                                             Filed 12/06/17    of 213
                                                            Page   5 ofPageID:
                                                                       17      229
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 84
                                             Filed 12/06/17    of 213
                                                            Page   6 ofPageID:
                                                                       17      230
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 85
                                             Filed 12/06/17    of 213
                                                            Page   7 ofPageID:
                                                                       17      231
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 86
                                             Filed 12/06/17    of 213
                                                            Page   8 ofPageID:
                                                                       17      232
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1 03/15/19   Page 87
                                             Filed 12/06/17    of 213
                                                            Page   9 ofPageID:
                                                                       17      233
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 88 of 213
                                                                  10 ofPageID:
                                                                        17     234
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 89 of 213
                                                                  11 ofPageID:
                                                                        17     235
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 90 of 213
                                                                  12 ofPageID:
                                                                        17     236
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 91 of 213
                                                                  13 ofPageID:
                                                                        17     237
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 92 of 213
                                                                  14 ofPageID:
                                                                        17     238
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 93 of 213
                                                                  15 ofPageID:
                                                                        17     239
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 94 of 213
                                                                  16 ofPageID:
                                                                        17     240
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   1 03/15/19   Page Page
                                             Filed 12/06/17 95 of 213
                                                                  17 ofPageID:
                                                                        17     241
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 96Page
                                              Filed 12/06/17   of 213
                                                                   1 ofPageID:
                                                                        87     242
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 97Page
                                              Filed 12/06/17   of 213
                                                                   2 ofPageID:
                                                                        87     243
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 98Page
                                              Filed 12/06/17   of 213
                                                                   3 ofPageID:
                                                                        87     244
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 99Page
                                              Filed 12/06/17   of 213
                                                                   4 ofPageID:
                                                                        87     245
Case 3:18-cv-04569-FLW   DocumentDocument
        Case 1:17-cv-02603-RDM    10-1 Filed
                                          1-103/15/19  Page 100
                                               Filed 12/06/17   of 213
                                                              Page  5 ofPageID:
                                                                         87     246
Case 3:18-cv-04569-FLW   DocumentDocument
        Case 1:17-cv-02603-RDM    10-1 Filed
                                          1-103/15/19  Page 101
                                               Filed 12/06/17   of 213
                                                              Page  6 ofPageID:
                                                                         87     247
Case 3:18-cv-04569-FLW   DocumentDocument
        Case 1:17-cv-02603-RDM    10-1 Filed
                                          1-103/15/19  Page 102
                                               Filed 12/06/17   of 213
                                                              Page  7 ofPageID:
                                                                         87     248
Case 3:18-cv-04569-FLW   DocumentDocument
        Case 1:17-cv-02603-RDM    10-1 Filed
                                          1-103/15/19  Page 103
                                               Filed 12/06/17   of 213
                                                              Page  8 ofPageID:
                                                                         87     249
Case 3:18-cv-04569-FLW   DocumentDocument
        Case 1:17-cv-02603-RDM    10-1 Filed
                                          1-103/15/19  Page 104
                                               Filed 12/06/17   of 213
                                                              Page  9 ofPageID:
                                                                         87     250
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 105
                                              Filed 12/06/17    of 213
                                                             Page  10 ofPageID:
                                                                         87     251
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 106
                                              Filed 12/06/17    of 213
                                                             Page  11 ofPageID:
                                                                         87     252
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 107
                                              Filed 12/06/17    of 213
                                                             Page  12 ofPageID:
                                                                         87     253
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 108
                                              Filed 12/06/17    of 213
                                                             Page  13 ofPageID:
                                                                         87     254
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 109
                                              Filed 12/06/17    of 213
                                                             Page  14 ofPageID:
                                                                         87     255
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 110
                                              Filed 12/06/17    of 213
                                                             Page  15 ofPageID:
                                                                         87     256
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 111
                                              Filed 12/06/17    of 213
                                                             Page  16 ofPageID:
                                                                         87     257
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 112
                                              Filed 12/06/17    of 213
                                                             Page  17 ofPageID:
                                                                         87     258
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 113
                                              Filed 12/06/17    of 213
                                                             Page  18 ofPageID:
                                                                         87     259
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 114
                                              Filed 12/06/17    of 213
                                                             Page  19 ofPageID:
                                                                         87     260
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 115
                                              Filed 12/06/17    of 213
                                                             Page  20 ofPageID:
                                                                         87     261
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 116
                                              Filed 12/06/17    of 213
                                                             Page  21 ofPageID:
                                                                         87     262
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 117
                                              Filed 12/06/17    of 213
                                                             Page  22 ofPageID:
                                                                         87     263
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 118
                                              Filed 12/06/17    of 213
                                                             Page  23 ofPageID:
                                                                         87     264
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 119
                                              Filed 12/06/17    of 213
                                                             Page  24 ofPageID:
                                                                         87     265
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 120
                                              Filed 12/06/17    of 213
                                                             Page  25 ofPageID:
                                                                         87     266
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 121
                                              Filed 12/06/17    of 213
                                                             Page  26 ofPageID:
                                                                         87     267
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 122
                                              Filed 12/06/17    of 213
                                                             Page  27 ofPageID:
                                                                         87     268
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 123
                                              Filed 12/06/17    of 213
                                                             Page  28 ofPageID:
                                                                         87     269
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 124
                                              Filed 12/06/17    of 213
                                                             Page  29 ofPageID:
                                                                         87     270
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 125
                                              Filed 12/06/17    of 213
                                                             Page  30 ofPageID:
                                                                         87     271
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 126
                                              Filed 12/06/17    of 213
                                                             Page  31 ofPageID:
                                                                         87     272
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 127
                                              Filed 12/06/17    of 213
                                                             Page  32 ofPageID:
                                                                         87     273
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 128
                                              Filed 12/06/17    of 213
                                                             Page  33 ofPageID:
                                                                         87     274
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 129
                                              Filed 12/06/17    of 213
                                                             Page  34 ofPageID:
                                                                         87     275
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 130
                                              Filed 12/06/17    of 213
                                                             Page  35 ofPageID:
                                                                         87     276
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 131
                                              Filed 12/06/17    of 213
                                                             Page  36 ofPageID:
                                                                         87     277
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 132
                                              Filed 12/06/17    of 213
                                                             Page  37 ofPageID:
                                                                         87     278
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 133
                                              Filed 12/06/17    of 213
                                                             Page  38 ofPageID:
                                                                         87     279
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 134
                                              Filed 12/06/17    of 213
                                                             Page  39 ofPageID:
                                                                         87     280
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 135
                                              Filed 12/06/17    of 213
                                                             Page  40 ofPageID:
                                                                         87     281
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 136
                                              Filed 12/06/17    of 213
                                                             Page  41 ofPageID:
                                                                         87     282
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 137
                                              Filed 12/06/17    of 213
                                                             Page  42 ofPageID:
                                                                         87     283
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 138
                                              Filed 12/06/17    of 213
                                                             Page  43 ofPageID:
                                                                         87     284
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 139
                                              Filed 12/06/17    of 213
                                                             Page  44 ofPageID:
                                                                         87     285
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 140
                                              Filed 12/06/17    of 213
                                                             Page  45 ofPageID:
                                                                         87     286
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 141
                                              Filed 12/06/17    of 213
                                                             Page  46 ofPageID:
                                                                         87     287
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 142
                                              Filed 12/06/17    of 213
                                                             Page  47 ofPageID:
                                                                         87     288
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 143
                                              Filed 12/06/17    of 213
                                                             Page  48 ofPageID:
                                                                         87     289
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 144
                                              Filed 12/06/17    of 213
                                                             Page  49 ofPageID:
                                                                         87     290
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 145
                                              Filed 12/06/17    of 213
                                                             Page  50 ofPageID:
                                                                         87     291
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 146
                                              Filed 12/06/17    of 213
                                                             Page  51 ofPageID:
                                                                         87     292
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 147
                                              Filed 12/06/17    of 213
                                                             Page  52 ofPageID:
                                                                         87     293
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 148
                                              Filed 12/06/17    of 213
                                                             Page  53 ofPageID:
                                                                         87     294
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 149
                                              Filed 12/06/17    of 213
                                                             Page  54 ofPageID:
                                                                         87     295
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 150
                                              Filed 12/06/17    of 213
                                                             Page  55 ofPageID:
                                                                         87     296
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 151
                                              Filed 12/06/17    of 213
                                                             Page  56 ofPageID:
                                                                         87     297
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 152
                                              Filed 12/06/17    of 213
                                                             Page  57 ofPageID:
                                                                         87     298
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 153
                                              Filed 12/06/17    of 213
                                                             Page  58 ofPageID:
                                                                         87     299
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 154
                                              Filed 12/06/17    of 213
                                                             Page  59 ofPageID:
                                                                         87     300
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 155
                                              Filed 12/06/17    of 213
                                                             Page  60 ofPageID:
                                                                         87     301
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 156
                                              Filed 12/06/17    of 213
                                                             Page  61 ofPageID:
                                                                         87     302
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 157
                                              Filed 12/06/17    of 213
                                                             Page  62 ofPageID:
                                                                         87     303
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 158
                                              Filed 12/06/17    of 213
                                                             Page  63 ofPageID:
                                                                         87     304
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 159
                                              Filed 12/06/17    of 213
                                                             Page  64 ofPageID:
                                                                         87     305
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 160
                                              Filed 12/06/17    of 213
                                                             Page  65 ofPageID:
                                                                         87     306
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 161
                                              Filed 12/06/17    of 213
                                                             Page  66 ofPageID:
                                                                         87     307
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 162
                                              Filed 12/06/17    of 213
                                                             Page  67 ofPageID:
                                                                         87     308
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 163
                                              Filed 12/06/17    of 213
                                                             Page  68 ofPageID:
                                                                         87     309
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 164
                                              Filed 12/06/17    of 213
                                                             Page  69 ofPageID:
                                                                         87     310
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 165
                                              Filed 12/06/17    of 213
                                                             Page  70 ofPageID:
                                                                         87     311
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 166
                                              Filed 12/06/17    of 213
                                                             Page  71 ofPageID:
                                                                         87     312
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 167
                                              Filed 12/06/17    of 213
                                                             Page  72 ofPageID:
                                                                         87     313
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 168
                                              Filed 12/06/17    of 213
                                                             Page  73 ofPageID:
                                                                         87     314
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 169
                                              Filed 12/06/17    of 213
                                                             Page  74 ofPageID:
                                                                         87     315
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 170
                                              Filed 12/06/17    of 213
                                                             Page  75 ofPageID:
                                                                         87     316
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 171
                                              Filed 12/06/17    of 213
                                                             Page  76 ofPageID:
                                                                         87     317
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 172
                                              Filed 12/06/17    of 213
                                                             Page  77 ofPageID:
                                                                         87     318
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 173
                                              Filed 12/06/17    of 213
                                                             Page  78 ofPageID:
                                                                         87     319
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 174
                                              Filed 12/06/17    of 213
                                                             Page  79 ofPageID:
                                                                         87     320
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 175
                                              Filed 12/06/17    of 213
                                                             Page  80 ofPageID:
                                                                         87     321
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 176
                                              Filed 12/06/17    of 213
                                                             Page  81 ofPageID:
                                                                         87     322
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 177
                                              Filed 12/06/17    of 213
                                                             Page  82 ofPageID:
                                                                         87     323
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 178
                                              Filed 12/06/17    of 213
                                                             Page  83 ofPageID:
                                                                         87     324
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 179
                                              Filed 12/06/17    of 213
                                                             Page  84 ofPageID:
                                                                         87     325
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 180
                                              Filed 12/06/17    of 213
                                                             Page  85 ofPageID:
                                                                         87     326
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 181
                                              Filed 12/06/17    of 213
                                                             Page  86 ofPageID:
                                                                         87     327
Case 3:18-cv-04569-FLW  Document
       Case 1:17-cv-02603-RDM    10-1 Filed
                              Document   1-103/15/19   Page 182
                                              Filed 12/06/17    of 213
                                                             Page  87 ofPageID:
                                                                         87     328
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed 03/15/19
                                          1-2          Page 183Page
                                               Filed 12/06/17   of 213
                                                                    1 ofPageID:
                                                                         2      329
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed 03/15/19
                                          1-2          Page 184Page
                                               Filed 12/06/17   of 213
                                                                    2 ofPageID:
                                                                         2      330
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 185
                                              Filed 07/11/18    of 213
                                                             Page   1 ofPageID:
                                                                        18      331




                                                                            Exhibit 24
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 186
                                              Filed 07/11/18    of 213
                                                             Page   2 ofPageID:
                                                                        18      332
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 187
                                              Filed 07/11/18    of 213
                                                             Page   3 ofPageID:
                                                                        18      333
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 188
                                              Filed 07/11/18    of 213
                                                             Page   4 ofPageID:
                                                                        18      334
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 189
                                              Filed 07/11/18    of 213
                                                             Page   5 ofPageID:
                                                                        18      335
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 190
                                              Filed 07/11/18    of 213
                                                             Page   6 ofPageID:
                                                                        18      336
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 191
                                              Filed 07/11/18    of 213
                                                             Page   7 ofPageID:
                                                                        18      337
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 192
                                              Filed 07/11/18    of 213
                                                             Page   8 ofPageID:
                                                                        18      338
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          1503/15/19   Page 193
                                              Filed 07/11/18    of 213
                                                             Page   9 ofPageID:
                                                                        18      339
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 194
                                              Filed 07/11/18    of 213
                                                             Page  10 ofPageID:
                                                                         18     340
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 195
                                              Filed 07/11/18    of 213
                                                             Page  11 ofPageID:
                                                                         18     341
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 196
                                              Filed 07/11/18    of 213
                                                             Page  12 ofPageID:
                                                                         18     342
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 197
                                              Filed 07/11/18    of 213
                                                             Page  13 ofPageID:
                                                                         18     343
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 198
                                              Filed 07/11/18    of 213
                                                             Page  14 ofPageID:
                                                                         18     344
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 199
                                              Filed 07/11/18    of 213
                                                             Page  15 ofPageID:
                                                                         18     345
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 200
                                              Filed 07/11/18    of 213
                                                             Page  16 ofPageID:
                                                                         18     346
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 201
                                              Filed 07/11/18    of 213
                                                             Page  17 ofPageID:
                                                                         18     347
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   15 03/15/19  Page 202
                                              Filed 07/11/18    of 213
                                                             Page  18 ofPageID:
                                                                         18     348
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 203
                                              Filed 08/06/18    of 213
                                                             Page   1 ofPageID:
                                                                        11      349




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 __________________________________________
                                            )
 RICHARD THOMPSON,                          )
                                            )
                   Plaintiff,               )
                                            )
       v.                                   ) Civil Action No. 17-2603-RDM
                                            )
 J. PATRICIA WILSON-SMOOT, et al.,         )
                                           )
                   Defendants.             )
 __________________________________________)

     OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

        J. Patricia Wilson-Smoot, Chair, United States Parole Commission (“Commission”) et al.

 (“Defendants”), in their official and individual capacities, by and through the undersigned

 counsel, respectfully file this Opposition to the Motion for Preliminary Injunction (“PI”) filed by

 Richard Thompson (“Plaintiff”).

                              INTRODUCTION AND SUMMARY

        Plaintiff commenced this action apparently under the erroneous belief that the Parole

 Commission lacks the discretion to deny him parole under the mandatory parole statute. 18

 U.S.C. § 4206(d). Subsequently, Plaintiff filed this pre-Answer motion for preliminary

 injunction. Plaintiff’s motion should be denied because this Court has already ruled, both in a

 previous case on point and Plaintiff’s motion to appoint counsel, that his claim is not likely

 meritorious because “mandatory parole in the federal system is not, in fact, mandatory at all.”

 Thompson v. Fulwood, 2018 U.S. Dist. Lexis 112179 (D. D.C. 2018); see also Dufur v. U.S.P.C.,

 2018 U.S. Dist. Lexis 87330 (D. D.C. 2018). Moreover, because Plaintiff seeks an immediate

 release to a halfway house, his claim sounds in habeas and will likely not succeed on the merits

 because subject matter jurisdiction, personal jurisdiction over his custodian and venue are



                                                                                         Exhibit 25
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 204
                                              Filed 08/06/18    of 213
                                                             Page   2 ofPageID:
                                                                        11      350




 lacking. Finally, Plaintiff has not satisfied any of the other factors that would merit entry of an

 injunction.

                                          BACKGROUND

        Plaintiff commenced this action alleging that Defendants violated his Due Process rights

 when he was “continue[d]…to his mandatory release date” of February 3, 2017, his “release plan

 was approved,” he was released to a halfway house in Baltimore on May 23, 2016, but he was

 returned to custody on June 7, 2016. See generally ECF No. 1 (“Pl’s Compl.”). In his

 complaint, Plaintiff seeks money damages as well as injunctive relief. It appears that Plaintiff

 believes that his mandatory parole release date was February 3, 2017, and the Commission was

 obligated to release him on or before that day. Id. Subsequently, Plaintiff filed his PI alleging

 essentially the same claims and seeking and order that “Defendant[]s [] restore Plaintiff[] to his

 former status at the Halfway House prior to being taken into by the U.S. Marshall Service until

 the Court resolve this matter.” ECF No. 15 at 6.

        By his own admission, Plaintiff has not been a model citizen. In 1974, Plaintiff was

 convicted and sentenced on a rape charge. Pl’s Compl. at 6, ¶ 15. In 1977, while incarcerated,

 he was convicted and sentenced on a charge of murdering another inmate. Id., ¶ 16; PI at 2, ¶ 3.

 In 1982, Plaintiff was sentenced to a concurrent five years sentence for attempted escape. Pl’s

 Compl. at 7, ¶ 18; PI at 2, ¶4. In 1983, Plaintiff was sentenced to a consecutive ten years

 sentence for the attempted murder of a corrections officer who was stabbed seventeen times.

 Pl’s Compl. 7, ¶19; PI 2, ¶5. At his initial parole hearing, Plaintiff received a 15 year setoff until

 2007, although he received “statutory interim hearing[s].” Pl’s Compl. at 7, ¶¶ 21-27.

        The crux of the matter appears to be that, although the Parole Commission had

 consistently stated that Plaintiff should be continued to expiration, Plaintiff believed that he was



                                                   2
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 205
                                              Filed 08/06/18    of 213
                                                             Page   3 ofPageID:
                                                                        11      351




 to be “continued to his statutory two-thirds mandatory release date” of February 3, 2017. PI at 4,

 ¶ 12. Plaintiff alleges that the Commission’s language “creat[ed] an expectation of release at

 Plaintiff’s statutory two thirds mandatory release date.” Id., ¶ 13. Plaintiff’s belief appears to be

 based on an erroneous reading of 18 U.S.C. § 4206(d), which provides as follows:

                Any prisoner, serving a sentence of five years or longer, who is not
                earlier released under this section or any other applicable provision
                of law, shall be released on parole after having served two-thirds of
                each consecutive term or terms, or after serving thirty years of each
                consecutive term or terms of more than forty-five years including
                any life term, whichever is earlier: Provided, however, That the
                Commission shall not release such prisoner if it determines that he
                has seriously or frequently violated institution rules and
                regulations or that there is a reasonable probability that he will
                commit any Federal, State, or local crime [emphasis added].

        In his PI, Plaintiff argues that he is likely to succeed on the merits because all the

 information upon which the Commission based its decision to return Plaintiff to custody was

 known to it in 2006, when it created the “expectation” that Plaintiff will be paroled by his

 statutory mandatory release date. PI Brief at 2. He further argues that he is exposed to

 irreparable harm because “[w]hatever psychological and physical effects [he] is suffering will

 progressively get worse if this Court does not intervene” and return him to the halfway house.

 Id. at 3. He further argues that his release to the halfway house does not pose a substantial harm

 to others and promotes the public interest. Id. at 4.

                                    STANDARD OF REVIEW

         A preliminary injunction is “an extraordinary and drastic remedy, one that should not

  be granted unless the movant, by a clear showing, carries the burden of persuasion.” See

  Mazurek v. Armstrong, 520 U.S. 968, 972 (1997); see also Yakus v. United States, 321 U.S. 414

  (1944); Emily’s List v. Federal Election Comm’n, 362 F.Supp.2d 43, 51 (D. D.C. 2005); Nat’l

  Head Start Ass’n v. Dep’t of Health and Human Servs., 297 F.Supp.2d 242, 246 (D. D.C. 2004);

                                                   3
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 206
                                              Filed 08/06/18    of 213
                                                             Page   4 ofPageID:
                                                                        11      352




  Varicon Int’l v. Office of Personnel Mgmt., 934 F. Supp. 440 (D. D.C. 1996); Kahane v.

  Secretary of State, 700 F.Supp. 1162, 1165 (D. D.C. 1988).

          The standards for interim injunctive relief, in the form of either a preliminary injunction

 or a temporary restraining order, are well established. The moving party must show: (1) a

 substantial likelihood of success on the merits; (2) that he would suffer irreparable injury if the

 injunction were not granted; (3) that an injunction would not substantially injure other interested

 parties; and (4) that the public interest would be furthered by the injunction. See Mova Pharm.

 Corp., 140 F.3d 1060, 1066 (D.C. Cir. 1998) (quoting CityFed Fin. Corp. v. Office of Thrift

 Supervision, 58 F.3d 738, 746 (D.C. Cir. 1995)) (internal quotation marks omitted). “A district

 court should not issue a mandatory preliminary injunction unless the facts and the law clearly

 favor the moving party.” Nat’l Conference on Ministry to Armed Forces v. James, 278

 F.Supp.2d 37, 43 (D. D.C. 2003) (internal quotation marks omitted). And a district court must

 “balance the strengths of the requesting party’s arguments in each of the four required areas.”

 CityFed, 58 F.3d at 747. “The standard for issuance of the extraordinary and drastic remedy of a

 temporary restraining order or a preliminary injunction is very high.” Jack’s Canoes & Kayaks,

 LLC v. Nat’l Park Serv., 933 F.Supp.2d 58, 76 (D. D.C. 2013) (internal quotation marks and

 citation omitted). An interim injunction is “never awarded as of right,” Winter v. NRDC, Inc.,

 555 U.S. 7, 24 (2008), and “should be granted only when the party seeking the relief, by a clear

 showing, carries the burden of persuasion,” Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir.

 2004).

           This Circuit has set a high standard for irreparable injury. First, the injury “must be

  both certain and great; it must be actual and not theoretical.” Chaplaincy of Full Gospel

  Churches, 454 F.3d at 297 (citing Wisconsin Gas Co. v. FERC, 758 F.2d at 674). The moving



                                                    4
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 207
                                              Filed 08/06/18    of 213
                                                             Page   5 ofPageID:
                                                                        11      353




  party must show “[t]he injury complained of is of such imminence that there is a ‘clear and

  present’ need for equitable relief to prevent irreparable harm.” Id. Second, the injury must be

  beyond remediation. See id. at 297. As the D.C. Circuit has explained:

                The key word in this consideration is irreparable. Mere injuries,
                however substantial, in terms of money, time and energy
                necessarily expended in the absence of a stay are not enough. The
                possibility that adequate compensatory or other corrective relief
                will be available at a later date, in the ordinary course of litigation
                weighs heavily against a claim of irreparable harm.

 Id. at 297-98 (quoting Wisconsin Gas Co. v. FERC, 758 F.2d at 674) and Va. Petroleum Jobbers

 Ass’n v. FPC, 259 F.2d 921, 925 (D.C. Cir.1958) (internal quotation marks omitted)); see also

 Sampson v. Murray, 415 U.S. 61, 88-90 (1974).

                                           ARGUMENT

        First, Plaintiff is unlikely to success on the merits because this Court has already ruled in

 his motion to appoint counsel that his belief that he is entitled to “mandatory parole,” based on

 18 U.S.C. § 4206(d), is misplaced. “‘Mandatory parole’ in the federal system is not, in fact,

 mandatory at all.” Thompson v. Fulwood, 2018 U.S. Dist. Lexis 112179 *2 (D. D.C. 2018)

 (citing Dufur v. U.S. Parole Comm’n, 17-0677 (RDM) 2018 U.S. Dist. Lexis 87330 (D. D.C.

 2018) (holding that “Thompson has failed to demonstrate that…his claims are potentially

 meritorious”). Secondly, in both his complaint and PI, Plaintiff seeks “reinstating [his] release

 date immediately [and] returning [him] back to the halfway house.” ECF No. 1 at 15; ECF No

 15 at 12. Thus, because Plaintiff seeks immediate release, the likelihood of success on the merits

 is further undermined by the fact that his complaint sounds in habeas for which both subject

 matter jurisdiction and venue are lacking in this Court. Plaintiff currently has a habeas action

 pending in the District of New Jersey that appears to challenge his various parole denials.

 Thompson v. D’Ilio, No. 13-6282, 2016 WL 6305953 (D. N.J. 2016). Finally, in denying
                                                   5
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 208
                                              Filed 08/06/18    of 213
                                                             Page   6 ofPageID:
                                                                        11      354




 Plaintiff’s motion to appoint counsel, this Court has already ruled that “appointment of counsel

 would not otherwise serve the interests of justice” in this case. Therefore, Plaintiff’s motion

 should be denied.

        a.      Plaintiff’s Motion has no Statutory Basis and Cannot Succeed on the Merits

        The fact that the governing statute provides for “mandatory parole” could

 “understandably” lead Plaintiff to believe that he should have been granted parole. Dufur, 2018

 U.S. Dist. Lexis 87330 at * 1. Any prisoner sentenced to more than 5 years imprisonment is

 entitled to be released on parole after serving two-thirds of each consecutive term or 30 years,

 whichever is first, unless the Commission determines that the prisoner “has seriously or

 frequently violated institution rules” or that there is a reasonable probability that he would

 commit further crimes. 18 U. S. C. § 4206 (d). United States v. Addonizio, 442 U.S. 178, 188-

 89 n13 (1979); Dufur, 2018 U.S. Dist. Lexis 87330 at * 1. The Commission has substantial

 discretion to determine whether a prisoner should be released on parole, once he is eligible, prior

 to the point where release is mandated by statute. Id. The mandatory parole exceptions “mean

 that ‘mandatory’ parole is not really mandatory.” Dufur, 2018 U.S. Dist. Lexis 87330 at 19

 (citing Bruscino v. True, 708 F.App’x 930, 935 (10th Cir. 2017)).

          Notwithstanding the language of the statute, Plaintiff appears to be seeking to capitalize

 on an error or miscommunication that occurred between the Parole Commission and BOP that

 resulted in his short release to a halfway house before he was returned when the error was

 discovered. The Parole Commission has been clear since Plaintiff’s initial parole hearing that his

 crimes and institutional conduct were of a nature that would make parole for him a difficult

 proposition. In 2011, 2013, and 2015, the Parole Commission “decided to continue you[r parole]

 until the expiration of your sentence.” Exhibits A, B, C. Shortly after Plaintiff’s release to a



                                                   6
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 209
                                              Filed 08/06/18    of 213
                                                             Page   7 ofPageID:
                                                                        11      355




 halfway house in May 2016, he was apprehended and returned two weeks later, and he received

 a parole hearing in August 2016. At that time, the Parole Commission “denied [Plaintiff]

 mandatory parole[] [and] continue[d] him to expiration. See Exhibit C. The Parole Commission

 determined that, based on Plaintiff’s past conduct, there was a “high probability” that he would

 not be a law abiding citizen. Id. Plaintiff appealed the Parole Commission’s denial, but was not

 able to get a different result. PI at 14.

         Plaintiff received all the Due Process rights was constitutionally entitled within the

 context of whatever “expectation” of release he might have had. Plaintiff was “allowed an

 opportunity to be heard and was provided a statement of the reasons why parole was denied” and

 he was given parole hearing in 2009, 2011, 2013, 2015 and after he was erroneously released and

 retaken into custody in August 2016. Dufur, 2018 U.S. Dist. Lexis 87330 at 36-37 (citing

 Greenholtz v. Inmates of Nebraska Penal & Corr. Complex., 442 U.S. 1 (1979) (analyzing the

 Due Process requirements and the balance between parole statutes’ creation of an expectation of

 release and the Parole Commissions total discretion to grant or deny parole). Thus, Plaintiff’s

 claim will very likely fail on the merits because he was afforded all his Due Process rights or

 notice and an opportunity to be heard.

         b.      Because Plaintiff seeks Release his Sole Relief is a Habeas Action

         This action is also unlikely to succeed on the merits because Plaintiff’s claim sounds in

 habeas for which personal jurisdiction over Plaintiff’s custodian and venue are lacking in this

 Court. Moreover, Plaintiff has a habeas action pending in the District of New Jersey. A person

 who is “in custody in violation of the Constitution or laws or treaties of the United States” may

 petition for a writ of habeas corpus in district court. 28 U.S.C. § 2241(c)(3). A challenge to the

 fact or duration of custody as being in violation of the Constitution or laws or treaties of the



                                                   7
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 210
                                              Filed 08/06/18    of 213
                                                             Page   8 ofPageID:
                                                                        11      356




 United States is cognizable under the general habeas statute. See Rasul v. Bush, 542 U.S. 466

 (2005) (“§2241 confers . . . jurisdiction to hear petitioners’ habeas corpus challenges to the

 legality of their detention at the Guantanamo Bay Naval Base”); Chatman-Bey v. Thornburgh,

 864 F.2d 804, 807 (D.C. Cir. 1988) (a prisoner’s challenge to the date on which he was eligible

 to be considered for parole “falls comfortably within the broad reach of habeas corpus”). Here,

 Plaintiff questions the durations of his incarceration and requests that the Parole Commission be

 ordered to immediately release him. Thus, because Plaintiff’s claim raises questions about the

 fact or duration of his incarceration, he should be required to bring his claim as a habeas petition

 in the jurisdiction where his custodian is located, and this action should be dismissed pursuant to

 Fed. R. Civ. P. 12(b)(2) and that also has personal jurisdiction over his custodian. In addition,

 for the same reasons, venue for a habeas action would be improper in this jurisdiction making

 dismissal under Rule 12(b)(3) appropriate.

         Because it is an available and efficacious remedy, Plaintiff=s claim should be construed as

 a petition for writ of habeas corpus, pursuant to Title 28 U.S.C. § 2241, and should be dismissed.

 In this connection, transfer to the federal district of Plaintiff’s incarceration is not necessary

 because Plaintiff already has a habeas action pending in New Jersey where he is incarcerated.

 The relevant language of the § 2241 habeas statute states: The writ of habeas corpus shall not

 extend to a prisoner unless . . . [h]e is in custody in violation of the Constitution or laws or

 treaties of the United States[.] Title 28 U.S.C. § 2241(c)(3). A federal prisoner’s attack on the

 “fact or duration” of his confinement is relegated to ' 2241 habeas relief which must be brought

 in the federal district of incarceration. Chatman-Bey v. Thornburgh, 864 F.2d 804 (D.C. Cir.

 1988) (en banc). Pursuant to § 2241, the federal district courts undeniably have subject matter

 jurisdiction to entertain such complaints, 28 U.S.C. § 2241(a), and may subsequently fashion the



                                                    8
Case 3:18-cv-04569-FLW  DocumentDocument
        Case 1:17-cv-02603-RDM   10-1 Filed
                                          2003/15/19   Page 211
                                              Filed 08/06/18    of 213
                                                             Page   9 ofPageID:
                                                                        11      357




 appropriate relief “as law and justice require.” 28 U.S.C. § 2243.

        In Chatman-Bey, the court went to great lengths in describing the “breadth and

 flexibility” of the ' 2241 habeas writ as a remedy for federal prisoners seeking immediate or

 accelerated release from unlawful incarceration. Chatman-Bey, 864 F.2d at 806-10. The focus

 of its decision was on Congress’ intent, manifested through § 2241, to provide a specific remedy

 to federal prisoners who are “in custody,” and challenging the lawfulness of that custody. By

 enacting ' 2241, the Court concluded, Congress intended that federal prisoners use that

 provision, instead of other less narrowly tailored forms of relief, e.g., mandamus or declaratory

 judgment relief, in challenging their detention. Id. The court stated its reasoning was “of a piece

 with the well-settled principle that a specific statute displaces (or, as is frequently said, preempts)

 more general remedies.” Id. Plaintiff=s complaint, which directly attacks his imprisonment,

 should be preempted by § 2241 habeas statute for relief for the identical reasons that

 Chatman-Bey declared such relief the sole remedy for federal prisoners challenging the “fact or

 duration” of their confinement.

        Not only is it unlike that Plaintiff will prevail on the merits, he has not made out any

 cogent case for any of the other elements of the preliminary injunction standard. In his motion,

 he merely states that his irreparable injury is that his physical and psychological condition will

 only get worse if he remains incarcerated. ECF No. 15 at 8. It is axiomatic that speculative

 injury will not support emergency injunctive relief, and that the threat of irreparable injury must

 be real and imminent. Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985).

 Plaintiff does not submit any medical evidence to support this assertion. Such “vague and

 unsubstantiated speculation” fails to demonstrate an actual or imminent injury that is both

 “certain and great.” Am. Bioscience, Inc. v. Thompson, 141 F.Supp.2d 88, 97 (D. D.C. 2001),



                                                   9
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   20 03/15/19  Page 212
                                              Filed 08/06/18    of 213
                                                             Page  10 ofPageID:
                                                                         11     358




 vacated on other grounds, 269 F.3d 1077 (D.C. Cir. 2001).

        Thus, because Plaintiff is unlikely to prevail on the merits and none of the other

 preliminary injunction facts favor such an extraordinary and drastic remedy, Plaintiff’s PI should

 be denied.

                                      Respectfully submitted,

                                      JESSIE K. LIU, D.C. Bar #474845
                                      United States Attorney for the District of Columbia

                                      DANIEL F. VAN HORN, D.C. Bar #924092
                                      Chief, Civil Division

                                      /s/ Kenneth Adebonojo
                                      KENNETH ADEBONOJO, N.J. Bar #00676-2001
                                      Assistant United States Attorney
                                      U.S. Attorney’s Office
                                      555 Fourth Street, N.W. – Room E4210
                                      Washington, D.C. 20530
                                      (202) 252-2562
                                      kenneth.adebonojo@usdoj.gov




                                                 10
Case 3:18-cv-04569-FLW   Document
        Case 1:17-cv-02603-RDM    10-1 Filed
                               Document   20 03/15/19  Page 213
                                              Filed 08/06/18    of 213
                                                             Page  11 ofPageID:
                                                                         11     359




                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Opposition to Plaintiff’s Motion for Preliminary

 Injunction was served on August 6, 2018, by first-class United States mail, postage prepaid,

 addressed to:

                                      Mr. Richard Thompson
                                      No. 568688/SBI# OOS0158535
                                      New Jersey State Prison
                                      P.O. Box 861
                                      Trenton, NJ 08625-0861




                                                11
